        Case 3:19-bk-30822        Doc 78-3 Filed 07/24/19 Entered 07/24/19 12:25:12                    Desc
                                 Confirmation of Balance Due Page 1 of 1


Ken Kayser

From:                            Lou Fernandez <lfernandez@tagnetics.com >
Sent:                            Wednesday, May 24, 2017 5:51 PM
To:                              Ken Kayser
Subject:                         Deli nquent Payroll Balance



Ken,

                                                                                                             5/24/17,
Tagnetics continues to accrue the salary owed to you as required by your employmen t agreement. As of today,
the current amount of past due routine GROSS payroll is $146,556.72. This does not include your deferred
compensation balance, unpaid life insurance premiums, or unreimbursed expenses.

Regards,
Lou .




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